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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

   UNILOC 2017 LLC,                                 §
                                                    §
                  Plaintiff,                        §
                                                    §
   v.                                               §        Case No. 2:18-cv-00504-JRG-RSP
                                                    §
   GOOGLE LLC,                                      §
                                                    §
                  Defendant.                        §

                                                ORDER

             Before the Court is Defendant Google LLC’s (“Google”) Motion for Leave to Supplement

  its Invalidity Contentions (“Motion”). (Dkt. No. 83.) Google previously filed invalidity

  contentions in this case that were partially based on Microsoft Corporation’s (“Microsoft”)

  PhoneFactor system. In Google’s present Motion, Google states that it subpoenaed Microsoft to

  review the source code for the PhoneFactor system, and Google now seeks to supplement its

  invalidity contentions with further descriptions of the PhoneFactor system.

             After consideration, the Court GRANTS Google’s Motion. The Court concludes that good

  cause is present as material is important, any undue prejudice to Uniloc would be limited, and

  Google has shown sufficient diligence.


        I.      APPLICABLE LAW

             Under the Local Patent Rules, leave to amend or supplement invalidity contentions may be

  made “only upon a showing of good cause.” P.R. 3–6(b). The Federal Circuit has stated that “‘good

  cause’ requires a showing of diligence.” O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467

  F.3d 1355, 1366 (Fed. Cir. 2006). Diligence includes a party’s diligence in discovering the

  reference. “As other courts have recognized, ‘the critical issue is not what the party did after they


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  discovered the prior art; rather, the critical issue is whether or not [the party seeking to amend]

  exercised diligence in discovering the prior art.’” Invensys Sys, Inc. v. Emerson Elec. Co., No.

  6:12-CV-799, 2014 WL 12598865, at *3 (E.D. Tex. Dec. 3, 2014) (citing Symantec Corp. v.

  Acronis Corp., 2013 WL 5368053, at *5 (N.D. Cal. Sept. 25, 2013) (internal quotation marks

  omitted)).

           While courts have broad discretion to allow modifications, it should consider four factors

  in ruling on such motions: (1) the explanation for the failure to meet the deadline; (2) the

  importance of the thing that would be excluded; (3) potential prejudice in allowing the thing that

  would be excluded; and (4) the availability of a continuance to cure such prejudice. S&W

  Enterprises, L.L.C. v. SouthTrust Bank of Alabama, NA, 315 F.3d 533, 535–36 (5th Cir. 2003)

  (citations omitted).


     II.       ANALYSIS

           Weighing the factors together, the Court concludes that Google’s Motion should be

  GRANTED. Google has shown that the supplementation is important and that Uniloc would suffer

  limited prejudice if this Motion were granted. Google has also shown sufficient diligence to

  warrant a finding of good cause.

           For the first factor, Uniloc argues that Google was not diligent in obtaining this source code

  material or in filing this motion. (Dkt. No. 105 at 6.) However, after receiving the Microsoft’s

  response to the subpoena, Google was diligent in reviewing the material, in informing Uniloc of

  the relevant material, and then in filing this motion. Google served its subpoena before the deadline

  for serving invalidity contentions. Google only served this subpoena four days before that deadline

  — however, in view of the other factors, the Court concludes that Google has acted with sufficient

  diligence here to show good cause.


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         Google has shown that the proposed supplementation is important for the second factor.

  Google asserts that the supplementation provides references to the source code for the PhoneFactor

  system, which Google uses in its invalidity case. (Dkt. No. 83 at 6–7.) Uniloc’s arguments in its

  response largely focus on the assertion that the source code printouts are not prior art and that they

  therefore cannot be used. (Dkt. No. 105 at 5–6.) However, the PhoneFactor system is alleged to be

  a publicly-used system, and the non-public nature of the source code for that system does not

  change that fact. See Netscape Commc'ns Corp. v. Konrad, 295 F.3d 1315, 1323 (Fed. Cir. 2002)

  (concluding that a system was prior art and that the plaintiff could not “negate this by evidence

  showing that other, unclaimed aspects, such as the source code, was not publicly available”); see

  also Lockwood v. Am. Airlines, Inc., 107 F.3d 1565, 1570 (Fed. Cir. 1997). The source code is

  merely being used to show how that system operates. Confidential source code is frequently used

  as evidence for invalidity, and this is evident from the inclusion within the Court’s model

  protective order of procedures governing the protection of source code and the discussion of source

  code within the Court’s patent rules for invalidity contentions. In view of the Parties’ arguments,

  the Court concludes that this factor weighs in favor of Google.

         The Court also concludes that the third factor, the potential prejudice in allowing the thing

  that would be excluded, weighs in favor of Google. Google included references to the PhoneFactor

  system in the original invalidity contentions and only seeks to supplement those contentions to

  provide additional details discovered after Google received Microsoft’s response to the subpoena.

  This limits any prejudice to Uniloc. Uniloc argues that it will be significantly prejudiced if Google

  is permitted to proceed with this evidence (Dkt. No. 105 at 4–5), but the Court concludes from this

  record that Uniloc has had sufficient opportunity to avoid such prejudice. Uniloc was apparently

  given an opportunity to review the source code. (Dkt. No. 83-2 at ¶¶ 6–7.) Furthermore, Google



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  represents that it offered seek permission from Microsoft to share the print-outs. (Dkt. No. 112 at

  2 n.1; Dkt. No. 112-1.) Altogether, the facts suggest that this factor weighs in favor of Google.

         Uniloc also argues that Google failed to comply with Local Patent Rule 3-4(b) (Dkt. No.

  105 at 3–4). Local Patent Rule 3-4(b) states that, “[w]ith the ‘Invalidity Contentions,’ the party

  opposing a claim of patent infringement must produce or make available for inspection and
  .
  copying: . . . (b) [a] copy of each item of prior art identified pursuant to P. R. 3-3(a) which does

  not appear in the file history of the patent(s) at issue.” Google states that Microsoft permitted both

  Google and Uniloc to review the relevant source code. (Dkt. No. 83-2 at ¶¶ 6–7.) Thus, the relevant

  source code was apparently made available at that time. Further Google states that it cannot share

  the source code printouts without Microsoft’s permission pursuant to the Discovery Order, and

  Google states that it offered to seek permission from Microsoft to do so. (Dkt. No. 112 at 2 n.1;

  Dkt. No. 112-1.) Uniloc is free to seek further relief regarding production of the code if necessary.

         The Court therefore GRANTS Google’s Motion.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 4th day of December, 2019.




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                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE




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